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            United States Bankruptcy Court, Northern District of Illinois, Eastern Division
                                   Attorney Appearance Form


Case Title:     Jeffrey Foster                                   Case Number:      22-06377

An appearance is hereby filed by the undersigned as attorney for:
  PNC Bank, National Association

Attorney name (type or print):            Joel P. Fonferko

Firm:     Codilis & Associates, P.C.

Street Address:        15W030 North Frontage Road, Suite 100

City/State/Zip:        Burr Ridge, IL 60527

Bar ID Number:         6276490                                   Telephone Number:           (630) 794-5300
(See item 3 in instructions)

Email                bkpleadingsNORTHERN@il.cslegal.com
Address:

Are you acting as lead counsel in this case?                                              Yes             No

Are you acting as local counsel in this case?                                             Yes             No

Are you a member of the court’s trial bar?                                                Yes             No

If this case reaches trial, will you act as the trial attorney?                           Yes             No

If this is a criminal case, check your status.                 Retained Counsel
                                                               Appointed Counsel
                                                                If appointed counsel, are you
                                                                     Federal Defender
                                                                     CJA Panel Attorney

In order to appear before this Court an attorney must either be a member in good standing of this Court’s
general bar or be granted leave to appear pro hac vice as provided for by local rules 83.12 through 83.14.
I declare under penalty of perjury that the foregoing is true and correct. Under 28 U.S.C. §1746, this
statement under perjury has the same force and effect as a sworn statement made under oath.

Executed on         June 21, 2022

Attorney signature:            /s/ Joel P. Fonferko
                               (Use electronic signature if the appearance form is filed electronically.)

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NOTE: This law firm is a debt collector.
